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6    Counsel for Defendants Michael Lacey and James Larkin
7
                         IN THE UNITED STATES DISTRICT COURT
8
                               FOR THE DISTRICT OF ARIZONA
9
     United States of America,                    No. CR-18-422-PHX-SPL
10
                              Plaintiff,          MOTION FOR LEAVE TO LATE
11
                                                  FILE REPLY IN SUPPORT OF
12      v.                                        MOTION FOR FURTHER
                                                  CLARIFICATION RE ORDER
13   Michael Lacey, et al.,                       ALLOWING THE GOVERNMENT
14                            Defendants.         TO CONTINUE REVIEW OF
                                                  PRIVILEGED COMMUNICATIONS
15

16            James Larkin and Michael Lacey, by and through their undersigned counsel,
17    respectfully move the Court for an order granting leave to late file their Reply in
18    Support of Motion for Further Clarification re Government’s Review of Privileged
19    Communications (Doc. 452). The Reply is being filed late because undersigned
20    counsel had medical issues (back problems) requiring doctors’ visits and treatment,
21    and missed the deadline for filing the Reply as a result.
22            Counsel conferred with government counsel regarding this request. The
23    government, through Assistant U.S. Attorney Kevin M. Rapp, has indicated that it
24    does not oppose this request.
25           For the above reasons, Mr. Larkin and Mr. Lacey respectfully move for leave to
26   late file their Reply in Support of Motion for Further Clarification re Government’s
27   Review of Privileged Communications.
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1    RESPECTFULLY SUBMITTED this 27th day of February, 2019.
2                                        DAVIS WRIGHT TREMAINE LLP
3

4                                        By: ____________________________
5                                            James C. Grant
                                            Attorney for Defendants
6                                           Michael Lacey and Jim Larkin
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1                                CERTIFICATE OF SERVICE
2          I hereby certify that on February 27, 2019, a true and correct copy of the
3    foregoing document was electronically filed with the Clerk of the United States District
4    Court of the District of Arizona by using the CM/ECF system, and that service will be
5    accomplished by the CM/ECF system to all counsel of record.
6
                                       s/ James C. Grant
7                                      James C. Grant
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